                  EXHIBIT A




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                           IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE SOUTHERN DISTRICT OF TEXAS

                                          HOUSTON DIVISION

    In re                                                Chapter 11

    Refreshing USA, LLC,                                 Case No. 24-33919 (ARP)
                                                         (Jointly Administered)
                                     1
                             Debtors .


       DECLARATION OF ERIC CAMM IN SUPPORT OF DEBTORS’ MOTION TO
      TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1412 AND FEDERAL RULE OF
                     BANKRUPTCY PROCEDURE 1014(A)


            I, Eric Camm, being duly sworn, state the following under penalty of perjury:

            1.       I submit this declaration in support of Debtors’ Motion to Transfer Venue

Pursuant to 28 U.S.C. § 1412 and Federal Rule of Bankruptcy Procedure 1014(a) (the
                 2
“Motion”). Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

            2.       I am a Principal and the Director of Capital Advisory for Turning Point Strategic

Advisor.

            3.       Debtors are incorporated and headquartered in Washington and their principal

places of business are in Washington. Debtors collectively own water machine and vending


1
  Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.
2
  Capitalized terms that are not defined in this declaration have the meaning ascribed to them in
the Motion.



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machine businesses. Creative previously manufactured and sold water purification machines.

Water Station serviced water machines purchased by investors. Refreshing owns and operated

vending machines. Refreshing was also the central financial clearinghouse for all machines and

all revenue generated by Debtors. The claims against Debtors and related parties likely exceed

$200 million.

       4.       On May 3, 2024, the Superior Court of King County, Washington (“Washington

State Court”) appointed Turning Point Strategic Advisors (“Receiver”) as a general receiver over

Ideal Property Investments LLC (“Ideal”).

       5.       Effective as of approximately May 14, 2024, the Washington State Court

appointed the Receiver as a general receiver over each of the Debtors.

       6.       On August 23, 2024, the Washington State Court issued an Order under the

Washington Consumer Protection Act and under its equitable powers in receivership to remove

Ryan Wear as Manager of Debtors and replace him with me as Manager. The Washington State

Court’s order also authorized me to file voluntary bankruptcy petitions on behalf of Debtors.

       7.       On August 27, 2024 (just four days after I was granted authority to file voluntary

bankruptcy petitions on Debtors’ behalf), Chapter 11 involuntary petitions were filed against

each of the Debtors (“Texas Bankruptcy Cases”). At the time the Texas Bankruptcy Cases were

filed by involuntary bankruptcy petitions, I was preparing to file voluntary bankruptcy petitions

on behalf of Debtors in the Eastern District of Washington.

       8.       On September 5, 2024, Ideal filed a voluntary bankruptcy petition in the Eastern

District of Washington Bankruptcy Court (“Washington Bankruptcy Court”), Case No. 24-

01421-FPC11 (“Ideal Bankruptcy Case”). Ideal is incorporated and headquartered in

Washington. Ideal’s principal place of business is in Everett, WA. Ideal does not have




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significant ties to the Southern District of Texas. Ideal is a real property holding company

controlling over 20 pieces of real property. It appears most of or all the money used to fund

Ideal’s property purchase transactions came from Debtors—to the tune of at least $31.7

million—without any consideration to Debtors. Debtors are tenants at certain of those

commercial real property parcels although, upon information and belief, they did not pay rent at

some or all the locations. In turn, Debtors and Ideal likely have claims against one another.

Moreover, upon information and belief, certain creditors have common claims against Debtors

and Ideal.

        9.        On October 2, 2024, the Court entered Orders for Relief as to Refreshing and

Water Station, and the same was entered as to Creative on October 23, 2024.

        10.       At this time, no committee of unsecured creditors has been appointed in the Texas

Bankruptcy Cases. An official committee of unsecured creditors has been appointed in the Ideal

Bankruptcy Case represented by K&L Gates. That committee is made up entirely of claimants

against these Debtors who have derivative claims on behalf of Debtors and also assert standalone

litigation claims against Ideal. Debtors believe they are by far the largest unsecured creditor in

the Ideal case.

        I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE

BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THEY ARE

MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.

        Dated: November 6, 2024.
                                                    /s/ Eric Camm
                                                   Eric Camm



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